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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


    UNITED STATES OF AMERICA
                                                            No. 20-cr-10136-RGS
         v.

    ERIC DAVIS


                     DEFENDANT’S SENTENCING MEMORANDUM

        Defendant, Eric Davis, respectfully submits this memorandum, his letter to the Court

(Exhibit 1) and other letters of support (Exhibit 2) to assist the Court with sentencing. For the

reasons articulated below, we submit that a sentence of imprisonment for 105 months, followed

by four years of supervised release (with a recommendation to participate in CARE) is sufficient,

but not greater than necessary, to accomplish the purposes of sentencing set forth in 18 U.S.C. §

3553(a). This represents a sentence at the high end of the applicable Guideline Sentence Range

and is the low end of the Rule 11(c)(1)(C) range contained in the plea agreement.

                                           Background1

        Mr. Davis is 37 years old. Born in Boston and raised in Dorchester, he has lived in the

metro area for his entire life. His parents had a history of substance abuse and domestic

violence. His mother died when he was seven years old and he never had a close relationship

with his father. His maternal grandparents took in Mr. Davis and his sister but Mr. Davis began

to act out around age 10. He was frequently taken out of the home by DCF and placed in foster

care.

        Introduced to alcohol at age 10, Mr. Davis began to drink regularly by age 12 and


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 The narrative in this section is a very limited summary based on more extensive social history
contained in the PSR and discussed in the letter from Mr. Davis to the Court.



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acknowledges that alcohol consumption remains a serious problem for him to this day. He

struggled in school and was prescribed Ritalin other medications for his attention deficit,

depression, anger, and anxiety. He has continued to engage constructively in mental health

treatment and counseling through his stints of incarceration and in the community. He earned his

GED in 2002.

       When released from his most recent incarceration in 2016, it appeared that Mr. Davis was

making significant strides toward leading a constructive, law-abiding life. He worked

consistently in a series of jobs despite intermittent medical issues, most recently from December

2018 to March 2020 at Diversified Automotive in Charlestown, until he was laid off due to the

pandemic. He obtained full custody of his son, now 13, and also developed strong relationships

with his young twin daughters, who are now 3. He also assisted in starting and running a non-

profit organization called T.E.A.R.S. (Teaching Every Adolescent Real Solutions). Against that

backdrop, his lapse back into criminal activity is tragic, although he recognizes he has only

himself to blame.

                                            Argument

       We submit that in the circumstances of this case, the proposed sentence of 105 months

imprisonment followed by four years of supervised release, is “sufficient but not greater than

necessary, to comply with the purposes of sentencing.” 18 U.S.C. § 3553(a).

       The Court is required to compute the Guideline Sentencing Range (“GSR”) as a “starting

point and the initial benchmark.” Gall v. United States, 128 S.Ct. 586, 596 (2007). Here,

Probation contends that the GSR is 100-125 months (level 25, CHC V), while Mr. Davis

contends that the correctly-calculated range is 84-105 months (level 25, CHC IV). Whatever

calculation the Court may eventually adopt, the Guidelines are not the sole, nor even the first




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among the factors that Congress has commanded the courts to apply in section 3553(a). The

Court “may not presume that the Guidelines range is reasonable” and must “make an

individualized assessment based on the facts presented.” Id. at 596-7. Indeed, “the Guidelines are

only one of the factors to consider . . . and 3553(a) directs the judge to consider sentences other

than imprisonment.” Id. at 602 (emphasis added). The Supreme Court later emphasized again

that the “Guidelines are not only not mandatory on sentencing courts; they are also not to be

presumed reasonable.” Nelson v. United States, 129 S.Ct. 890, 892 (2009) (emphasis in original).

       Thus, district courts are now permitted, indeed, directed to consider whether the advisory

guidelines would result in a sentence that is unreasonably high. See United States v. Kimbrough,

128 S.Ct. 558, 575 (2007); United States v. Boardman, 528 F.3d 86 (1st Cir. 2008); United

States v. Martin, 520 F.3d 87, 93-94 (1st Cir. 1998).

       The First Circuit elaborated on the meaning and breadth of the so-called parsimony

principle in United States v. Yonathan Rodriguez, 527 F.3d 221 (1st Cir. 2008). In Rodriguez, the

First Circuit stressed that the Supreme Court ruling in Kimbrough requires a “more holistic

inquiry” and that “section 3553(a) is more than a laundry list of discrete sentencing factors; it is,

rather, a tapestry of factors, through which runs the thread of an overarching principle.” Id. at

228. That overarching principle is to “impose a sentence sufficient but not greater than

necessary.” Id. In reaching a decision on what constitutes an appropriate sentence, the district

court should “consider all the relevant factors” and “construct a sentence that is minimally

sufficient to achieve the broad goals of sentencing.” Id. (emphasis added).

       A. The Properly-Calculated GSR is 84-105 months (level 25, CHC IV).

       There is no dispute that the Total Offense Level is 25. However, Probation contends that

Mr. Davis has 11 criminal history points, placing him in Category V. Probation’s calculation




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includes an erroneous assignment of two points for “committing the instant offense while under a

criminal justice sentence.” U.S.S.G. § 4A1.1(d).

       Mr. Davis completed his state probation in July 2019. The earliest identified offense

conduct involving Mr. Davis did not occur until August 2019. Probation nevertheless maintains

that the additional 2 points are warranted since the indictment and superseding information to

which Mr. Davis pled guilty state that the conspiracy began in June 2019. However, Mr. Davis

cannot be liable for activities of a multi-participant conspiracy before there is any evidence to

suggest he had joined. His guilty plea does not change that. As the Seventh Circuit explained:

       With respect to the timing of his participation in the scheme, [the defendant’s]
       admission in the agreement tracked the language of the indictment. He admitted
       that the scheme existed for four years, and he admitted that he was a part of the
       scheme. He did not admit that he was part of the scheme for the entire four years,
       and he was not asked whether he was. Again, a guilty plea admits only the
       essential elements of the offense, and dates are not elements of the offense.

United States v. White, 883 F.3d 983, 989-90 (7th Cir. 2018).

       Accordingly, Mr. Davis has 9 criminal history points, placing him Category IV. The

properly-calculated GSR is therefore 84-105 months.

       B. The Proposed Sentence Will Provide Just Punishment.

       The proposed sentence represents a substantial penalty that adequately reflects the

seriousness of the offenses of conviction, will promote respect for the law, and provide just

punishment as required by section 3553(a)(2)(A). While it is easy to become inured to

enormous sentences in the federal system, 105 months is a very substantial sentence. It is 50

percent greater than the prior 71-month federal sentence Mr. Davis served. While one could

argue that an additional upward “ratchet” is warranted in light of the prior federal case, courts

have recognized that even successive sentences of similar or just slightly increased length have

an enhanced or leveraged effect. See, e.g., United States v. Regaldo-Hernandez, No. 07-cr-0227-




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DPW, DE 20 (Sentencing Tr. at 24-25) (imposing 30-month sentence, identical to previous

federal sentence) (“The defendant was, of course, sentenced to precisely thirty months

committed the last time, and one can say: That wasn’t enough, but I think there is, like a toxic

impact, an accumulation of time which can have an accelerated or leveraged effect.”); United

States v. Passanisi, No. 10-cr-10666-DPW (imposing 40-month sentence, three months longer

than prior federal sentence, where GSR was 77-96 months).

       C. The Proposed Sentence Will Provide Sufficient Specific and General Deterrence.

       The proposed sentence will be more than sufficient to deter Mr. Davis from similar

crimes in the future, as required by sections 3553(a)(2)(B) and (C). The very fact of federal

prosecution will also serve the interest in general deterrence that the government emphasizes.

       There are no data to suggest that a longer sentence would have any marginally greater

general deterrent effect. Indeed, research consistently has shown that “increases in the severity of

punishments do not yield significant (if any) marginal deterrent effects.” Michael Tonry,

Purposes and Functions of Sentencing, 34 CRIME & JUST. 1, 28 (2006). “Three National

Academy of Science panels . . .reached that conclusion, as has every major survey of the

evidence.” Id. see also Zvi D. Gabbay, Exploring the Limits of the Restorative Justice Paradigm,

8 CARDOZO J. CONFLICT RESOL. 421, 447-48 (2007) (“[C]ertainty of punishment is empirically

known to be a far better deterrent than its severity.”).

       On the other hand, there is a substantial body of research that suggests “crime-reducing

aspects of imprisonment are considerably negated by crime-enhancing ones.” Todd Clear,

Backfire: When Incarceration Increase Crime, The Unintended Consequences of Incarceration.

(Vera Inst. 1996).




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       Moreover, Mr. Davis will be well into his 40s when he is released, and will be on federal

supervision until he is nearly 50. At that age, recidivism declines precipitously. See, e.g., U.S.S.C.,

“The Effects of Aging on Recidivism Among Federal Offenders” (2017) at 23 (showing steady

decline in recidivism with age, from 48 percent at age 25 to 22.3 percent at age 45 to 15.9 percent

at age 50 to 12.2 percent at age 55)2; U.S.S.C., “Recidivism Among Federal Drug Trafficking

Offenders” (2017) at A-14 (showing 15 percent reincarceration rate for powder cocaine trafficking

offenders released from custody at age 41-50). 3

       D. The Proposed Sentence Will Provide Any Needed Treatment.

       Mr. Davis is not in need of treatment of the sort that a Bureau of Prisons placement

would uniquely facilitate under section 3553(a)(2)(D). Rather, the Probation Department is best

equipped to ensure that Mr. Davis maintains a stable, law-abiding life. In particular, Mr. Davis

would be a good candidate for the CARE or program, given his longstanding issues with alcohol

abuse. Ultimately, notwithstanding Mr. Davis’ previous difficulties on supervised release, the

prospect of a productive life after incarceration will rise or fall on his ability to comply with and

benefit from Probation supervision. The Court can address any future issue of compliance with

appropriately-tailored and calibrated services and sanctions.




2
 Available at <https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-
publications/2017/20171207_Recidivism-Age.pdf>.
3
 Available at <https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-
publications/2017/20170221_Recidivism-Drugs.pdf>.



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                                            Conclusion

       For the foregoing reasons, the Court should impose the proposed sentence. No fine

should be imposed in light of the defendant’s limited financial means.

                                              Respectfully submitted,

                                              ERIC DAVIS
                                              by his attorney

                                              /s/ William Fick
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                                              /s/ William Fick




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